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 9                               UNITED STATES DISTRICT COURT
10                       FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     ERNEST O’NEIL RANKIN BROCK,          ) CASE NO. 1:18-CV-01615-DAD-EPG
12
                                          )
                  Plaintiff,              )
13                                          STIPULATED PROTECTIVE ORDER
                  vs.                     )
14                                        )
     COUNTY OF FRESNO on behalf of FRESNO )
15
     COUNTY SHERIFF’S DEPARTMENT; and )
     DOES 1-200, inclusive,               )
16
                                          )
17                 Defendants.            )

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19   1.     PURPOSES AND LIMITATIONS
20          Disclosure and discovery activity in this action are likely to involve production of
21   confidential or private information for which special protection from public disclosure and from
22   use for any purpose other than prosecuting this litigation may be warranted.
23          Pursuant to Eastern District Local Rule 141.1 (c), the parties hereby stipulate to and
24   petition the court to enter the following Stipulated Protective Order. The information for which
25   protection is sought includes Fresno County Jail records such as policies, photographs, video, and
26   inmate records; personnel files of Fresno County Jail employees; and HIPAA protected medical
27   and mental health records relating to Plaintiff.
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 1          A Protective Order is sought so the documents and information can be used by the parties

 2   in preparation for trial and shared with witnesses and expert witnesses, who would not be subject

 3   to a private agreement between the parties.

 4          The parties acknowledge that this Order does not confer blanket protections on all

 5   disclosures or responses to discovery and that the protection it affords from public disclosure and

 6   use extends only to the limited information or items that are entitled to confidential treatment

 7   under the applicable legal principles. The parties further acknowledge, as set forth in Section 12.3,

 8   below, that this Stipulated Protective Order does not entitle them to file confidential information

 9   under seal. Local Rule 141 sets forth the procedures that must be followed and the standards that

10   will be applied when a party seeks permission from the court to file material under seal.

11   2.     DEFINITIONS

12          2.1 Challenging Party: A Party or Non-Party that challenges the designation of

13   information or items under this Order.

14          2.2 Confidential Information or Items: Information (regardless of how it is generated,

15   stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil

16   Procedure 26(c).

17          2.3 Counsel: Attorneys (and their support staff) who are retained to represent or advise a

18   party to this action and have appeared in this action on behalf of that party or are affiliated with a

19   law firm which has appeared on behalf of that party.

20          2.4 Designating Party: A Party or Non-Party that designates information or items that it

21   produces in disclosures or in responses to discovery. The information or items shall be identified

22   as follows: CONFIDENTIAL MATERIAL SUBJECT TO PROTECTIVE ORDER, Brock v.

23   County of Fresno USDC Case NO. 1:18-CV-01615-DAD-EPG.

24          2.5 Disclosure or Discovery Material: All items or information, regardless of the medium

25   or manner in which it is generated, stored, or maintained (including, among other things,

26   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

27   responses to discovery in this matter.

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 1           2.6 Expert: A person with specialized knowledge or experience in a matter pertinent to

 2   the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

 3   consultant in this action.

 4           2.7 Non-Party: Any natural person, partnership, corporation, association, or other legal

 5   entity not named as a Party to this action.

 6           2.8 Party: Any party to this action, including all of its officers, directors, employees,

 7   consultants, retained experts, and Outside Counsel of Record (and their support staff).

 8           2.9 Producing Party: A Party or Non-Party that produces Disclosure or Discovery Material

 9   in this action.

10           2.10 Professional Vendors: Persons or entities that provide litigation support services

11   (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

12   organizing, storing, or retrieving data in any form or medium) and their employees and

13   subcontractors.

14           2.11 Protected Material: Any Disclosure or Discovery Material that is designated as

15   “Confidential Material.”

16           2.12 Receiving Party: A Party that receives Disclosure or Discovery Material from a

17   Producing Party.

18   3.      SCOPE

19           The protections conferred by this Stipulation and Order cover not only Protected Material

20   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

21   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

22   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

23   However, the protections conferred by this Stipulation and Order do not cover the following

24   information: (a) any information that is in the public domain at the time of disclosure to a

25   Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

26   a result of publication not involving a violation of this Order, including becoming part of the

27   public record through trial or otherwise; and (b) any information known to the Receiving Party

28   prior to the disclosure or obtained by the Receiving Party after the disclosure from a source who


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 1   obtained the information lawfully and under no obligation of confidentiality to the Designating

 2   Party. Any use of Protected Material at trial shall be governed by a separate agreement or order.

 3   4.      DURATION

 4           Even after final disposition of this litigation, the confidentiality obligations imposed by

 5   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

 6   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

 7   claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

 8   the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

 9   including the time limits for filing any motions or applications for extension of time pursuant to

10   applicable law.

11   5.      PROTECTED MATERIAL

12           5.1 Protected Materials

13           Defendants shall produce the confidential material, subject to this Protective Order on the

14   following conditions:

15                  (a)      Documents Subject to Disclosure Limited to This Action. The documents

16   requested by Plaintiff through discovery come from Fresno County Jail records including policies,

17   photographs, video, and inmate records; HIPAA protected medical and mental health records

18   relating to Plaintiff; and personnel files of Fresno County Jail employees, which are protected by

19   the California Peace Officers Bill of Rights, the federal common law qualified privilege known

20   as the Official Information Privilege, California Evidence Code §1040, et seq., California Penal

21   Code §§832.7 and 832.8, the Right to Privacy of the defendant officers and third-party non-

22   defendant Fresno County Sheriff’s Office employees, victims, minors as guaranteed by the United

23   States Constitution and the California Constitution (Cal. Const., Art. 1, §1).

24    The confidential documents and the information contained therein shall be used solely in

25   connection with this litigation, including appeals, and not for any other purpose, including other

26   litigation:

27                  (b)      Redaction of Confidential Information. Considering the privacy concerns

28   contained in the personnel and Internal Investigation Records, Defendants shall redact the


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 1   identities of minors or domestic violence victims and personal identifying information (social

 2   security numbers, month and day of birth, driver’s license number, home addresses, and telephone

 3   numbers).

 4          5.2 Manner and Timing of Designations. Except as otherwise provided in this Order, or

 5   as otherwise stipulated or ordered, disclosure or discovery of material that qualifies for protection

 6   under this Order must be clearly so designated before the material is disclosed or produced.

 7          Designation in conformity with this Order requires:

 8                  (a) for information in documentary form (e.g., paper or electronic documents, but

 9   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

10   affix the designation “CONFIDENTIAL MATERIAL SUBJECT TO PROTECTIVE ORDER,

11   Brock v. County of Fresno, USDC Case No. NO. 1:18-CV-01615-DAD-EPG” pursuant to section

12   2.4 above, to each page that contains protected material.

13                  (b) for testimony given in deposition or in other pretrial or trial proceedings, that

14   the Designating Party identify on the record, before the close of the deposition, hearing, or other

15   proceeding, all protected testimony.

16                  (c) for information produced in some form other than documentary and for any

17   other tangible items, that the Producing Party affix in a prominent place on the exterior of the

18   container or containers in which the information or item is stored the CONFIDENTIAL

19   designation. If only a portion or portions of the information or item warrant protection, the

20   Producing Party, to the extent practicable, shall identify the protected portion(s).

21          5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

22   designate qualified information or items does not, standing alone, waive the Designating Party’s

23   right to secure protection under this Order for such material. Upon timely correction of a

24   designation, the Receiving Party must make reasonable efforts to assure that the material is treated

25   in accordance with the provisions of this Order.

26   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

27          6.1 Timing of Challenges. Any Party or Non-Party may challenge a designation of

28   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality


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 1   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

 2   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

 3   challenge a confidentiality designation by electing not to mount a challenge promptly after the

 4   original designation is disclosed.

 5          6.2 Meet and Confer. The Challenging Party shall initiate the dispute resolution process

 6   by providing written notice of each designation it is challenging and describing the basis for each

 7   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

 8   recite that the challenge to confidentiality is being made in accordance with this specific

 9   paragraph of the Protective Order. The parties shall attempt to resolve each challenge in good

10   faith and must begin the process by conferring directly (in voice to voice dialogue; other forms

11   of communication are not sufficient) within 14 days of the date of service of notice. In conferring,

12   the Challenging Party must explain the basis for its belief that the confidentiality designation was

13   not proper and must give the Designating Party an opportunity to review the designated material,

14   to reconsider the circumstances, and, if no change in designation is offered, to explain the basis

15   for the chosen designation. A Challenging Party may proceed to the next stage of the challenge

16   process only if it has engaged in this meet and confer process first or establishes that the

17   Designating Party is unwilling to participate in the meet and confer process in a timely manner.

18          6.3 Judicial Intervention. If the Parties cannot resolve a challenge without court

19   intervention, the parties shall request an informal discovery dispute conference pursuant to the

20   undersigned Magistrate Judge’s case management procedures. the Designating Party file and

21   serve a motion to retain confidentiality within 21 days of the initial notice of challenge or within

22   14 days of the parties agreeing that the meet and confer process will not resolve their dispute,

23   whichever is earlier. Each such motion must be accompanied by a competent declaration

24   affirming that the movant has complied with the meet and confer requirements imposed in the

25   preceding paragraph. Failure by the Designating Party to make such a motion including the

26   required declaration within 21 days (or 14 days, if applicable) shall automatically waive the

27   confidentiality designation for each challenged designation. In addition, the Challenging Party

28   may file a motion challenging a confidentiality designation at any time if there is good cause for


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 1   doing so, including a challenge to the designation of a deposition transcript or any portions

 2   thereof. Any motion brought pursuant to this provision must be accompanied by a competent

 3   declaration affirming that the movant has complied with the meet and confer requirements

 4   imposed by the preceding paragraph.

 5          The burden of persuasion in any such challenge proceeding shall be on the Designating

 6   Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

 7   unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 8   sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

 9   file a motion to retain confidentiality as described above, all parties shall continue to afford the

10   material in question the level of protection to which it is entitled under the Producing Party’s

11   designation until the court rules on the challenge.

12   7.     ACCESS TO AND USE OF PROTECTED MATERIAL

13          7.1 Basic Principles. A Receiving Party may use Protected Material that is disclosed or

14   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

15   defending, or attempting to settle this litigation. Such Protected Material may be disclosed only

16   to the categories of persons and under the conditions described in this Order. When the litigation

17   has been terminated, a Receiving Party must comply with the provisions of section 13 below

18   (FINAL DISPOSITION).

19          Protected Material must be stored and maintained by a Receiving Party at a location and

20   in a secure manner that ensures that access is limited to the persons authorized under this Order.

21          7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

22   the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

23   information or item designated “CONFIDENTIAL” only to:

24          (a) The Receiving Party’s Counsel of Record in this action, as well as employees of said

25   Counsel of Record to whom it is reasonably necessary to disclose the information for this

26   litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is

27   attached hereto as Exhibit A;

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 1           (b) The officers, directors, and employees of the Receiving Party to whom disclosure is

 2   reasonably necessary for this litigation and who have signed the “Acknowledgment and

 3   Agreement to Be Bound” (Exhibit A);

 4           (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

 5   reasonably necessary for this litigation and who have signed the “Acknowledgment and

 6   Agreement to Be Bound” (Exhibit A);

 7           (d) The court and its personnel;

 8           (e) Court reporters and their staff, professional jury or trial consultants, mock jurors, and

 9   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

10   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

11           (f) During their depositions, witnesses in the action to whom disclosure is reasonably

12   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

13   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

14   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

15   bound by the court reporter and may not be disclosed to anyone except as permitted under this

16   Stipulated Protective Order. Witnesses shall not leave the deposition with a copy of

17   CONFIDENTIAL documents unless expressly agreed to on the record by the Designating Party.

18           (g) The author or recipient of a document containing the information or a custodian or

19   other person who otherwise possessed or knew the information.

20   8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

21           OTHER LITIGATION

22           If a Party is served with a subpoena or a court order issued in other litigation that compels

23   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that Party

24   must:

25           (a) Promptly notify in writing the Designating Party. Such notification shall include a copy

26   of the subpoena or court order;

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 1          (b) Promptly notify in writing the party who caused the subpoena or order to issue in the

 2   other litigation that some or all of the material covered by the subpoena or order is subject to this

 3   Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

 4          (c) Cooperate with respect to all reasonable procedures sought to be pursued by the

 5   Designating Party whose Protected Material may be affected.

 6          If the Designating Party timely seeks a protective order, the Party served with the

 7   subpoena or court order shall not produce any information designated in this action as

 8   CONFIDENTIAL before a determination by the court from which the subpoena or order issued,

 9   unless the Party has obtained the Designating Party’s written permission. The Designating Party

10   shall bear the burden and expense of seeking protection in that court of its confidential material.

11   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED

12          IN THIS LITIGATION

13          (a) The terms of this Order are also applicable to information produced by a Non-Party in

14   this action and designated as “CONFIDENTIAL.” Such information produced by Non-Parties in

15   connection with this litigation is protected by the remedies and relief provided by this Order.

16   Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

17   additional protections.

18          (b) In the event that a Party is required, by a valid discovery request, to produce a Non-

19   Party’s confidential information in its possession, and the Party is subject to an agreement with

20   the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

21                  (1) promptly notify in writing the Requesting Party and the Non-Party that some

22   or all of the information requested is subject to a confidentiality agreement with a Non-Party;

23                  (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order

24   in this litigation, the relevant discovery request(s), and a reasonably specific description of the

25   information requested; and

26                  (3) make the information requested available for inspection by the Non-Party.

27          (c) If the Non-Party fails to object or seek a protective order from this court within 14

28   days of receiving the notice and accompanying information, the Receiving Party may produce the


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 1    Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

 2    seeks a protective order, the Receiving Party shall not produce any information in its possession

 3    or control that is subject to the confidentiality agreement with the Non-Party before a

 4    determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

 5    burden and expense of seeking protection in this court of its Protected Material.

 6    10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 7           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

 8    Material to any person or in any circumstance not authorized under this Stipulated Protective

 9    Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

10    unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

11    Protected Material, (c) inform the person or persons to whom unauthorized disclosures were made

12    of all the terms of this Order, (d) request such person or persons to execute the “Acknowledgment

13    and Agreement to Be Bound” that is attached hereto as Exhibit A and (e) state in writing all efforts

14    the Receiving Party made to retrieve the unauthorized copies.

15    11.    INADVERTENT PRODUCTION OF PROTECTED MATERIAL

16           When a Producing Party gives notice to Receiving Parties that certain inadvertently

17    produced material is subject to a claim of privilege or other protection, the obligations of the

18    Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).

19    12.    MISCELLANEOUS

20           12.1 Right to Further Relief. Nothing in this Order abridges the right of any person to seek

21    its modification by the court in the future.

22           12.2 Right to Assert Other Objections. By stipulating to the entry of this Protective Order

23    no Party waives any right it otherwise would have to object to disclosing or producing any

24    information or item on any ground not addressed in this Stipulated Protective Order. Similarly,

25    no Party waives any right to object on any ground to use in evidence of any of the material covered

26    by this Protective Order.

27           12.3 Filing Protected Material. Without written permission from the Designating Party or

28    a court order secured after appropriate notice to all interested persons, a Party may not file in the


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 1    public record in this action any Protected Material. A Party that seeks to file under seal any

 2    Protected Material must comply with Local Rule 141.1. Protected Material may only be filed

 3    under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

 4    issue. A sealing order will issue only upon a request establishing that the Protected Material at

 5    issue is privileged, protectable as a trade secret, or otherwise entitled to protection under the law.

 6    If a Receiving Party's request to file Protected Material under seal is denied by the court, then the

 7    Receiving Party may file the information in the public record unless otherwise instructed by the

 8    court.

 9    13.      FINAL DISPOSITION

10             Within 60 days after the final disposition of this action, as defined in paragraph 4, each

11    Receiving Party must return all Protected Material to the Producing Party or destroy such

12    material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

13    compilations, summaries, and any other format reproducing or capturing any of the Protected

14    Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

15    submit a written certification to the Producing Party (and, if not the same person or entity, to the

16    Designating Party) by the 60 day deadline that (1) identifies (by category, where appropriate) all

17    the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

18    not retained any copies, abstracts, compilations, summaries or any other format reproducing or

19    capturing any of the Protected Material.

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22    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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24    DATED: February 6, 2019                        LAW OFFCES OF LOYST P. FLETCHER

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 1                                 By:

 2                                       LOYST P. FLETCHER

 3                                       Attorney for Ernest O’Neril Rahkin Brock

 4

 5

 6    DATED: February 6, 2019            WEAKLEY & ARENDT

 7                                       A Professional Corporation

 8

 9
10                                 By:

11                                       JAMES D. WEAKLEY

12                                       ASHLEY N. TORRES

13                                       Attorneys for Defendants

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 1                                                 ORDER

 2           Pursuant to the parties’ stipulation and the Court’s modification to Paragraph 6.3 above,

 3    the stipulated protective order is hereby adopted.

 4
      IT IS SO ORDERED.
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 6       Dated:     February 7, 2019                           /s/
                                                           UNITED STATES MAGISTRATE JUDGE
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